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                         UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                PORTLAND DIVISION
FEDERAL TRADE COMMISSION,                    Case No.: 3:24-cv-00347
STATE OF ARIZONA,
STATE OF CALIFORNIA,                         DEFENDANTS’ OPPOSITION TO
DISTRICT OF COLUMBIA,                        PLAINTIFFS’ MOTION TO STRIKE
STATE OF ILLINOIS,
STATE OF MARYLAND,
STATE OF NEVADA,
STATE OF NEW MEXICO,
STATE OF OREGON, and
STATE OF WYOMING,
              Plaintiffs,

      v.

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

                Defendants.
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– and rejected – the opportunity to further depose Dr. Israel regarding his surrebuttal analysis. The

Court should have the full benefit of the experts’ analyses on this important issue.

         Accordingly, the Court should find Dr. Israel’s corrected rebuttal report appropriate under

the rules and his surrebuttal report substantially justified, and deny the Motion in its entirety. If

necessary, Defendants remain willing to present Dr. Israel for a limited additional deposition

related to his surrebuttal report, and would not oppose Dr. Hill preparing a surreply.

II.      BACKGROUND

         On June 1, 2023, Defendants produced to the FTC historical store-level profit and loss data,

including data that Dr. Hill relied upon for the first time in his rebuttal analysis of margins. On

January 4, 2024, in response to a follow-up request from the FTC during its merger investigation,

Defendants provided the FTC updated breakdowns of their variable and fixed costs.2

         On June 18, 2024, Plaintiffs produced the initial expert report of its economic expert, Dr.

Nicholas Hill, which made no reference to the variable cost breakdowns that Defendants had

produced six months earlier; instead, he relied exclusively on the parties’ (higher) gross margins,

which do not account for all the variable costs described in these breakdowns.3 On July 1, 2024,

Defendants produced the rebuttal expert report of their economic expert, Dr. Mark Israel, who

criticized Dr. Hill’s use of gross margins for competitive effects analyses.4

         At 12:08 a.m. EDT on July 13, 2024, Plaintiffs produced a rebuttal report from Dr. Hill,

which included a new margin analysis related                                                                   , using

data first provided more than six months earlier, purportedly supporting Dr. Hill’s use of gross



2
  Pfaffenroth Decl., Ex. 2 (E-mail from J. Ewart to C. Dickinson re: Kroger/Albertsons w/ attach: KR-FTC-2R-
000030808, Jan. 4, 2024).
3
  Pfaffenroth Decl., Ex. 3 at ¶¶ 188-93, App’x F. (Hill Initial Report).
4
  Pfaffenroth Decl., Ex. 4 at ¶ 155 (Israel Report). On July 5, 2024, Defendants produced the first corrected rebuttal
report for Dr. Israel, which reflected necessary corrections because he had not properly coded certain Albertsons stores
as Albertsons stores when performing his analysis. Pfaffenroth Decl., Ex. 5 (Israel Dep. Tr. 308:3-309:7). Plaintiffs
did not object to the corrected report.
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not like that Dr. Israel’s second corrected report further undermines their purported structural

presumptions, that does not make his corrected analysis inappropriate or subject to exclusion. In

any event, Plaintiffs cannot reasonably claim prejudice when Plaintiffs questioned Dr. Israel about

the second corrected rebuttal report at his deposition, and have ample time before trial to further

prepare for his cross-examination on this report.

       B.      Plaintiffs’ Untimely Disclosure of Dr. Hill’s New Margin Analysis Renders Dr.
               Israel’s Surrebuttal Report Substantially Justified

       Plaintiffs’ failure to timely disclose Dr. Hill’s margin analysis related to

      in his initial report opened the door to a surrebuttal analysis by Dr. Israel. Rule 26 was

designed to forestall “sandbagging” by a party with the burden of proof by “using a rebuttal report

as a backdoor to introduce analysis that could have been included in the opening report.” City &

Cnty. of San Francisco v. Purdue Pharma L.P., No. 18-CV-07591-CRB, 2022 WL 1203075, at *2

(N.D. Cal. Apr. 22, 2022); In re High-Tech Emp. Antitrust Litig., No. 11-CV-02509-LHK, 2014

WL 1351040, at *12 (N.D. Cal. Apr. 4, 2014) (noting that courts do not allow plaintiffs to

“‘sandbag’ Defendants with new analysis that should have been included . . . in [an expert's]

opening merits report.”). Given the expert discovery schedule in this matter, it was impossible for

Dr. Israel to produce a supplemental report to address Dr. Hill’s flawed margin analysis before his

deposition. Nevertheless, Dr. Israel put Plaintiffs on notice of his supplemental analysis at his

deposition and produced his finalized analysis shortly thereafter. Plaintiffs were given the

opportunity to depose Dr. Israel about this surrebuttal analysis or to have Dr. Hill offer a surreply

to this analysis, but rejected both options. In these circumstances, and given the Court’s discretion

to allow expert testimony, especially at a bench hearing, Defendants submit that the Court should

allow Dr. Israel’s surrebuttal report to stand.




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        While the CMSO in this case allowed the parties to produce supplemental reports a week

in advance of an expert’s deposition, CMSO at 4 ¶10, it was impossible for Dr. Israel to supplement

his rebuttal report to meet this deadline. Dr. Hill served his rebuttal report on July 13, but Plaintiffs

insisted on deposing Dr. Israel less than a week after it was served.

        Even if Dr. Israel’s surrebuttal report were deemed untimely under the CMSO, the decision

to allow expert testimony falls within the discretion of the Court, and Plaintiffs’ primary case

makes clear that courts permit surrebuttal expert reports when such disclosures are “either

substantially justified or harmless.” PUMA SE v. Brooks Sports, Inc., No. 2:23-CV-00116-LK,

2024 WL 2091382, at *4 (W.D. Wash. May 9, 2024). Two cases are instructive on this topic:

Pacific Steel Grp. v. Com. Metals Co., No. 20-CV-07683-HSG, 2024 WL 3171832 (N.D. Cal.

June 25, 2024) and Sancom, Inc. v. Qwest Comm. Corp., 683 F. Supp. 2d 1043 (D.S.D. 2010).

        In Pacific Steel, plaintiff’s expert presented new, previously undisclosed economic analysis

in his reply report that he did not include in his opening report. Pacific Steel Grp., 2024 WL

3171832, at *5. Although the court’s scheduling order did not contemplate additional expert

filings, defendants filed an out-of-time declaration by its expert to rebut plaintiff’s “updated and

wholly new calculations and methods” contained in its reply report. Id. Plaintiffs moved to strike

defendant’s expert declaration, arguing – as Plaintiffs are likely to do in this case – that its new

analysis merely supported the conclusions its expert described in his initial report. Id. The court

rejected plaintiff’s motion, citing several cases for the proposition that “basic fairness” disallows

parties with the burden of proof to “raise new…analyses” for the first time in reply “because this

practice makes a fair response impossible.” Id. at 5 (citing cases); see also id. at 6 n.2 (“Courts

have cited this element of simple fairness in allowing similar supplemental expert filings”)(citing

additional cases). Indeed, the court in Pacific Steel questioned why plaintiff’s expert reply report



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containing its new analysis should not be stricken and ordered additional briefing on the subject.

Id. at 6 n.3.

        Similarly in Sancom, plaintiff Sancom raised new issues in its rebuttal report that were not

addressed in Qwest’s initial or rebuttal expert reports. Id. at 1064. After deposing plaintiff’s

expert, defendant Qwest’s expert produced a surrebuttal report to address arguments set forth for

the first time in Sancom’s rebuttal report. Id. Chief Judge Schreier found that the timing of

Qwest’s surrebuttal report was substantially justified because Qwest’s expert “did not have an

opportunity to respond” to theories expressed for the first time in Sancom’s expert’s rebuttal report.

Id. The court further found the late disclosure of Qwest’s surrebuttal report — three months after

receiving Sancom’s rebuttal report and forty-eight days after deposing Sancom’s expert — to be

harmless because Sancom knew it was forthcoming. Id. Finally, the court rejected the argument

that Sancom would be prejudiced because the arguments put forth by Qwest’s expert in his

surrebuttal report would be part of Qwest’s cross-examination of Sancom’s expert, id., noting that

Qwest’s surrebuttal report did not contain any new opinions. Id. at 1065.

        These cases mirror the present fact pattern. Defendants provided the FTC with the margin

data used for Dr. Hill’s analysis in June 2023 and January 2024. In Dr. Hill’s initial expert report,

Plaintiffs chose not to have Dr. Hill analyze this margin data in relation to

Instead, Plaintiffs waited until his rebuttal report to include wholly new calculations and methods

related to the       to justify his use of gross margins, disallowing Dr. Israel any way to respond

under the CMSO. To test this new analysis, Dr. Israel analyzed the same data Dr. Hill relied upon,

using a different, longer-term event. Dr. Israel discussed this analysis at his July 22 deposition

and Defendants then produced the surrebuttal report on July 30, only eighteen days after service

of Dr. Hill’s rebuttal report. Dr. Israel then prepared a short, eight-paragraph surrebuttal report

that squarely (and only) addresses the flaws in Dr. Hill’s new margin analysis.
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        As in Pacific Steel and Sancom, the timing of Dr. Israel’s surrebuttal report is substantially

justified because Plaintiffs’ inclusion of wholly “new calculations and methods” for the first time

in its rebuttal report made “a fair response impossible.” Pacific Steel Grp., 2024 WL 3171832, at

*5. Until receiving Dr. Hill’s rebuttal report, Dr. Israel “did not [otherwise] have an opportunity

to respond” to Dr. Hill’s new analysis, Sancom, 683 F. Supp. 2d at 1064. Further, Plaintiffs will

not be harmed by Defendants presenting Dr. Israel’s surrebuttal analysis: Plaintiffs already

anticipated and asked Dr. Israel if there would be a “surreply” report at his deposition, and the

flaws in Dr. Hill’s new margin analysis will be explored when Dr. Hill is cross-examined at trial.

Sancom, 683 F. Supp. 2d at 1065. Moreover, Defendants have offered (and remain willing) to

make Dr. Israel available for a short additional deposition to explore his surrebuttal or,

alternatively, to allow Dr. Hill to file a surreply to Dr. Israel’s surrebuttal. Plaintiffs rejected both

proposals, rendering any assertion of prejudice specious.

        Dr. Israel’s surrebuttal was submitted to address clear flaws in Dr. Hill’s new margin

analysis and present a counter-analysis using the same data that indicates that Dr. Israel’s variable

margins are the appropriate margins to analyze the likely competitive effects of this merger.

Striking Dr. Israel’s surrebuttal report would deny the Court of the full universe of analyses related

to this important margin issue. Given that the preliminary injunction hearing is a bench hearing

and in light of the Court’s inherent discretion to allow surrebuttal analyses where appropriate, the

Court should reject Plaintiffs’ request to strike Dr. Israel’s surrebuttal report. If any remedy is

warranted, the Court can afford Plaintiffs the opportunity to take a short deposition of Dr. Israel

on his surrebuttal report or have Dr. Hill prepare a surreply that responds to Dr. Israel’s surrebuttal

report, both of which Defendants offered and Plaintiffs refused.




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